                                                                                SLF Invoice Sorted by Attorney

Date Billed                                                                              Actual        Actual               Time   Amount
                Billed By                          Description                                                    Rate                                               Category
   On                                                                                    Time          Charge             Claimed Claimed % Reduction
3/18/2020 Josh Sanford      Conference with RM: briefing, next steps                         0.1         $32.50   $325.00      0.1   $32.50         0% In-House Conference
3/19/2020 Josh Sanford      Examination of transmittal to clerk                              0.1         $32.50   $325.00        0    $0.00      100% Case Management
                            Discussion of case status and directing case strategy to
3/19/2020   Josh Sanford    Attorney SR/CL                                                    0.1       $32.50    $325.00     0.1    $32.50          0%   In-House Conference
3/20/2020   Josh Sanford    Examination of filed motion                                       0.1       $32.50    $325.00     0.1    $32.50          0%   Case Management
3/20/2020   Josh Sanford    Examination of clerk's notice                                     0.1       $32.50    $325.00       0     $0.00        100%   Case Management
3/20/2020   Josh Sanford    Examination of judge assignment                                   0.1       $32.50    $325.00       0     $0.00        100%   Case Management
3/20/2020   Josh Sanford    Work on Client's file: new case filing/complaint                  0.1       $32.50    $325.00     0.1    $32.50          0%   Case Management
                            Receive, read and prepare response to email(s) from CL:
3/20/2020   Josh Sanford    case management                                                   0.1       $32.50    $325.00       0     $0.00        100%   Case Management
3/22/2020   Josh Sanford    Examination of Clerk's notice                                     0.1       $32.50    $325.00     0.1    $32.50          0%   Case Management
3/26/2020   Josh Sanford    Editing and revision of summons                                   0.1       $32.50    $325.00     0.1    $32.50          0%   Case Initiation
3/26/2020   Josh Sanford    Conference with TF: service of case                               0.1       $32.50    $325.00     0.1    $32.50          0%   Case Management
3/28/2020   Josh Sanford    Editing and revision of summonses                                 0.1       $32.50    $325.00       0     $0.00        100%   Case Initiation
3/30/2020   Josh Sanford    Examination of issued summons                                     0.1       $32.50    $325.00       0     $0.00        100%   Case Management
3/30/2020   Josh Sanford    Examination of request for issuance of summons                    0.1       $32.50    $325.00       0     $0.00        100%   Case Management
3/30/2020   Josh Sanford    Examination of IOM: service of lawsuit                            0.1       $32.50    $325.00       0     $0.00        100%   In-House Conference
4/7/2020    Josh Sanford    Examination of filed returns                                      0.1       $32.50    $325.00       0     $0.00        100%   Case Management
                            Receive, read and prepare response to email(s) from OC:
4/17/2020 Josh Sanford      consent judgment                                                  0.1       $32.50    $325.00     0.1    $32.50          0% Consent Judgment
4/17/2020 Josh Sanford      Examination of OC email; review file                              0.2       $65.00    $325.00     0.2    $65.00          0% Opposing Counsel Communications

4/20/2020 Josh Sanford      Receive, read and prepare response to email(s) from OC            0.1       $32.50    $325.00     0.1    $32.50          0% Opposing Counsel Communications
                            Receive, read and prepare response to email(s) from OC-
4/20/2020   Josh Sanford    settlement                                                        0.1       $32.50    $325.00     0.1    $32.50          0%   Opposing Counsel Communications
4/21/2020   Josh Sanford    Examination of OC email                                           0.1       $32.50    $325.00     0.1    $32.50          0%   Opposing Counsel Communications
4/22/2020   Josh Sanford    Examination of text order                                         0.1       $32.50    $325.00       0     $0.00        100%   Case Management
4/22/2020   Josh Sanford    Examination of email to chambers from OC                          0.1       $32.50    $325.00     0.1    $32.50          0%   Court Communications
5/8/2020    Josh Sanford    Examination of OC's proposed consent judgment                     0.2       $65.00    $325.00     0.2    $65.00          0%   Consent Judgment
5/8/2020    Josh Sanford    Examination of OC: email                                          0.1       $32.50    $325.00     0.1    $32.50          0%   Opposing Counsel Communications
5/15/2020   Josh Sanford    Examination of email to OC re: consent judgment                   0.1       $32.50    $325.00     0.1    $32.50          0%   Consent Judgment
5/15/2020   Josh Sanford    Conference with SR: terms of settlement                           0.1       $32.50    $325.00     0.1    $32.50          0%   In-House Conference
5/18/2020   Josh Sanford    Examination of OC email                                           0.1       $32.50    $325.00     0.1    $32.50          0%   Opposing Counsel Communications
5/22/2020   Josh Sanford    Examination of response-filed                                     0.2       $65.00    $325.00     0.2    $65.00          0%   Case Management
                            Receive, read and prepare response to email(s) from SR:
5/22/2020 Josh Sanford      offer from OC                                                     0.1       $32.50    $325.00     0.1    $32.50          0% Opposing Counsel Communications

5/22/2020 Josh Sanford      Receive, read and prepare response to email(s) from OC            0.1       $32.50    $325.00     0.1    $32.50          0% Opposing Counsel Communications
                            Examination of Intra-office memo regarding case events
5/26/2020 Josh Sanford      and deadlines                                                     0.1       $32.50    $325.00       0     $0.00        100% Case Management
                            Discussion of case status and directing case strategy to
5/26/2020 Josh Sanford      Attorney SR                                                       0.1       $32.50    $325.00     0.1    $32.50          0% In-House Conference
                            Receive, read and prepare response to email(s) from OC-
5/26/2020 Josh Sanford      extension                                                         0.1       $32.50    $325.00     0.1    $32.50          0% Opposing Counsel Communications
5/28/2020 Josh Sanford      Examination of OC email                                           0.1       $32.50    $325.00     0.1    $32.50          0% Opposing Counsel Communications
6/3/2020 Josh Sanford       Examination of OC email                                           0.1       $32.50    $325.00     0.1    $32.50          0% Opposing Counsel Communications

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Date Billed                                                                                    Actual        Actual                Time    Amount
                   Billed By                            Description                                                    Rate                                                      Category
   On                                                                                          Time          Charge              Claimed   Claimed % Reduction

 6/3/2020     Josh Sanford      Receive, read and prepare response to email(s) from OC              0.1       $32.50   $325.00       0.1     $32.50         0%   Opposing Counsel Communications
 6/4/2020     Josh Sanford      Examination of OC emails                                            0.2       $65.00   $325.00       0.2     $65.00         0%   Opposing Counsel Communications
 6/9/2020     Josh Sanford      Examination of text only order                                      0.1       $32.50   $325.00         0      $0.00       100%   Case Management
 6/9/2020     Josh Sanford      Examination of filed- motion for extension                          0.1       $32.50   $325.00       0.1     $32.50         0%   Case Management

 6/9/2020     Josh Sanford      Receive, read and prepare response to email(s) from OC              0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
                                Receive, read and prepare response to email(s) from OC;
6/9/2020 Josh Sanford           review filings                                                      0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
6/15/2020 Josh Sanford          Examination of OC email                                             0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
                                Receive, read and prepare response to email(s) from OC -
6/22/2020 Josh Sanford          offer                                                               0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
6/23/2020 Josh Sanford          Examination of OC email                                             0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
                                Receive, read and prepare response to email(s) from OC:
6/24/2020 Josh Sanford          payment                                                             0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
                                Examination of Intra-office memo regarding case events
 7/8/2020     Josh Sanford      and deadlines                                                       0.1       $32.50   $325.00         0      $0.00       100% Case Management
 7/8/2020     Josh Sanford      Examination of Judgment                                             0.1       $32.50   $325.00       0.1     $32.50         0% Case Management
 7/8/2020     Josh Sanford      Examination of Opinion and Order                                    0.1       $32.50   $325.00       0.1     $32.50         0% Case Management
                                Receive, read and prepare response to email(s) from
 7/8/2020     Josh Sanford      Chambers                                                            0.1       $32.50   $325.00       0.1     $32.50         0%   Court Communications
 7/8/2020     Josh Sanford      Conference with RM re Fee Petition                                  0.1       $32.50   $325.00       0.1     $32.50         0%   Fee Petition
 7/8/2020     Josh Sanford      Preparation and drafting of IOM re next steps                       0.1       $32.50   $325.00         0      $0.00       100%   In-House Conference
 7/9/2020     Josh Sanford      Examination of emails with Chambers from OC                         0.1       $32.50   $325.00       0.1     $32.50         0%   Court Communications
 7/9/2020     Josh Sanford      Conference with SG re Fee Petition                                  0.1       $32.50   $325.00         0      $0.00       100%   In-House Conference
                                Receive, read and prepare response to email(s) from OC re
7/10/2020 Josh Sanford          payment plan                                                        0.1    $32.50      $325.00       0.1    $32.50          0% Opposing Counsel Communications
                                                                                                    5.9 $1,917.50                    4.4 $1,430.00         25% Josh Sanford Total
                                Preparation and drafting of Application to Confirm
3/17/2020 Rebecca Matlock       Arbitration Award                                                   0.7      $133.00   $190.00       0.7    $133.00         0% Case Initiation
                                Receive, read and prepare response to email(s) from JS and
 7/8/2020     Rebecca Matlock   SR about drafting a fee petition                                    0.1       $19.00   $190.00         0      $0.00       100% Fee Petition
 7/9/2020     Rebecca Matlock   Preparation and drafting of Fee Petition                              1      $190.00   $190.00         1    $190.00         0% Fee Petition
                                Telephone Conference(s) with TF about drafting the Fee
7/13/2020     Rebecca Matlock   Petition                                                            0.1      $19.00 $190.00          0.1      $19.00        0%   In-House Conference
7/14/2020     Rebecca Matlock   Preparation and drafting of Fee Petition                            1.1   $ 209.00 $190.00           1.1   $ 209.00         0%   Fee Petition
7/15/2020     Rebecca Matlock   Preparation and drafting of Fee Petition                            1.6   $ 304.00 $ 190.00          1.6   $ 304.00         0%   Fee Petition
7/16/2020     Rebecca Matlock   Preparation and drafting of Fee Petition                            1.2   $ 228.00 $ 190.00          1.2   $ 228.00         0%   Fee Petition
                                                                                                    5.8   $1,102.00                  5.7   $1,083.00        2%   Rebecca Matlock Total

                                Editing and revision of application to confirm arbitration
3/17/2020 Steve Rauls           award; draft civil cover sheet and prepare exhibits                 0.5      $112.50   $225.00       0.5    $112.50         0% Case Initiation
                                Receive, read and prepare response to email(s) from CL
                                regarding docketing application to confirm arbitration
3/20/2020 Steve Rauls           award                                                               0.1       $22.50   $225.00         0      $0.00       100% In-House Conference



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Date Billed                                                                                       Actual        Actual                Time    Amount
                      Billed By                           Description                                                     Rate                                                 Category
   On                                                                                             Time          Charge              Claimed   Claimed % Reduction
                                  Receive, read and prepare response to email(s) from staff
                                  regarding proof of service; file proof of service on
 4/6/2020     Steve Rauls         corporate defendants                                                 0.3       $67.50   $225.00       0.3     $67.50         0% Case Management
                                  Telephone Conference(s) between Attorney and Client
                                  regarding collection efforts and updated contact
5/15/2020 Steve Rauls             information                                                          0.2       $45.00   $225.00       0.2     $45.00         0% Client Communications

                                  Examination of Def.'s proposed consent judgment;
                                  research governor's proclamation cited in Def.'s draft and
5/15/2020 Steve Rauls             email opposing counsel regarding proposed changes                    1.2      $270.00   $225.00       1.2    $270.00         0% Consent Judgment
                                  Editing and revision of Def.'s proposed consent judgment;
5/22/2020 Steve Rauls             email to JS for review                                               0.8      $180.00   $225.00       0.8    $180.00         0% Consent Judgment
                                  Conference with JS regarding collections efforts and Def.'s
5/26/2020 Steve Rauls             proposed consent order                                               0.1       $22.50   $225.00       0.1     $22.50         0% In-House Conference
                                  Receipt and review of emails from opposing counsel
6/23/2020 Steve Rauls             regarding payment of judgment                                        0.1       $22.50   $225.00       0.1     $22.50         0% Opposing Counsel Communications
                                                                                                       3.3      $742.50                 3.2    $720.00         3% Steve Rauls Total
                                  Receipt and review of Proof of Service; save in file;
 4/6/2020     Staff               calendar Def's Answer; email SR                                      0.1        $6.00    $60.00         0      $0.00       100% Case Management
                                  Receipt and review of Def's Order of Extension; save in file;
4/23/2020 Staff                   update deadline                                                      0.1        $6.00    $60.00       0.1      $6.00         0% Case Management
7/8/2020 Staff                    Work on Client's file: process ECF - Judgment                        0.1        $6.00    $60.00         0      $0.00       100% Case Management

                                  Work on Client's file: process ECF - Order and Opinion
 7/8/2020     Staff               Granting Motion to Confirm Arbitration Award                         0.1        $6.00    $60.00         0      $0.00       100% Case Management
                                                                                                       0.4       $24.00                 0.1      $6.00        75% Staff Total




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